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IN THE UNITED STATES DISTRICT COURT
F()R THE MIDDLE DISTRICT OF PENNSYLVANIA

B.L., a minor, by and through her father,
LAWRENCE LEVY, and her mother,
BETTY LOU LEVY, Civ. No. 3:17-cv-l734-ARC

Plaintiff, (Hon. A. Richard Caputo)

MAHANOY AREA SCHOOL
DISTRICT,

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v. )
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Defendant. )
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AND NOW, this £fftiay of May, 2018, it is hereby ORDERED that the
parties’ Joint Motion for Extension of Case Management Deadlines is
GRANTED. The deadlines in the Court’s April 26, 2018 Case Management
Order (ECF 24) are hereby extended as follows:

All fact discovery shall be completed by Friday, September 14, 2018.

Pretrial disclosures required by Fed. R. Civ. P. 26(a)(3) shall be made by

Monday, October 15, 2018.

 

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Dispositive motions, together With supporting briefs, shall be filed by

@KQM

Hon. A. Richard Caputo
U.S. District Judge

Monday, October 15, 2018.

 

